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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
TRELLIAN PTY, LTD.,

                                Plaintiff,

           -v-
                                                        CIVIL ACTION NO.: 19 Civ. 5939 (JPC) (SLC)

                                                                          ORDER
adMARKETPLACE, INC.,

                                Defendant.


SARAH L. CAVE, United States Magistrate Judge:

           A Telephone Conference concerning Defendant adMarketplace, Inc.’s (“AMP”) letter-

motion to compel production by non-party Resilion, LLC (“Resilion”) (ECF Nos. 64–65, 67) is

scheduled for Friday, January 15, 2021 at 10:00 am on the Court’s conference line. The parties

are directed to call: (866) 390-1828; access code: 380-9799, at the scheduled time.

           Before the Telephone Conference, AMP and Resilion shall meet and confer to select for

the Court’s review twenty (20) documents containing the disputed redactions (the “Sample

Documents”). By 5:00 pm on Wednesday, January 13, 2021, AMP and Resilion shall: (i) file under

seal redacted versions of the Sample Documents; and (ii) shall submit to the Court via email to

cave_nysdchambers@nysd.uscourts.gov an unredacted copy of the Sample Documents in a

password-protected zip file and send the password by a separate email to the same address.

AMP and Resilion are instructed to consult the Court’s Individual Practices in Civil Cases and the

Southern District of New York’s Electronic Case Filing Rules & Instructions concerning sealed

filings.
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Dated:         New York, New York
               January 11, 2021

                                             SO ORDERED



                                             _________________________
                                             SARAH L. CAVE
                                             United States Magistrate Judge




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